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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

CARL FORSELL

d/b/a NONCE PTE., LTD.
8 ST. MARTIN DR., #03-21
SINGAPORE, 258005

Case No:

Judge:
Plaintiff,
VS.
SQUIRRELS, LLC
C/O ANDREW GOULD
121 WILBUR DR. NE
NORTH CANTON, OH 44720

ALLMINE, INC.

C/O LEGALINC CORPORATE SERVICES, INC,
4965 US HWY 42, STE. 1000-34

LOUISVILLE, KY 40222

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Defendants.

i COMPLAINT

NOW COMES Plaintiff, Carl Forsell (hereinafter ‘Mr. Forsell’), by and through
undersigned counsel, hereby sets forth its Complaint against Defendants Squirrels, LLC
(hereinafter ‘Squirrels’) and Allmine, Inc. (hereinafter ‘Allmine’) and states as follows:

PARTIES, JURISDICTION AND VENUE
1. Plaintiff Carl Forseil is an individual and resident of Singapore. He is the assignee of a
claim possessed by Nonce Pte, Ltd, a Singapore-based firm involved in the processing

and mining of cryptocurrencies, against Defendant Squirrels, LLC.

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. Defendant Squirrels, LLC is an Ohio LLC doing business in Ohio and internationally,
Squirrels is a supplier/vendor of hardware associated with the processing and mining of

cryptocurrencies.

. Defendant Allmine, Inc. is a Kentucky corporation doing business in Kentucky and
internationally through its online business known as ‘FPGA Land’. Upon information and
belief Allmine entered into a joint venture with Squirrels regarding the supply of

hardware associated with the processing and mining of eryptocurrencies.

. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C, §1331,
because the claim arises under the Constitution, laws, or treaties of the United States,
specifically the United Nations Convention on Contracts for the International Sale of
Goods (CISG). Additionally, this Court possesses diversity jurisdiction based upon the

citizenship of the parties and the amount in controversy exceeding $75,000 in accordance

with 28 U.S.C. §1332.

. Venue is proper in this Court pursuant to 28 U.S.C, §1391(b)(1), because a substantial
part of the events, omissions, or parts of property giving rise to the claims asserted herein

occurred within this judicial district.

Jurisdiction and venue are also proper under the Ohio Uniform Commercial Code

(“UCC”), specifically Title 13 of the Ohio Revised Code.

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FACTUAL BACKGROUND
ALL COUNTS

The allegations set forth in Paragraphs 1-6 are hereby realleged as if fully rewritten

herein.

This matter arises out of a series of contracts between Mr. Forsell, acting through Nonce
Ptd., Ltd, and Squirrels beginning in June 2018. The transactions involved a product
known as ‘BCU1525’, which is a blockchain edition expansion board containing Field
Programmable Gate Array coprocessors intended for the acceleration of algorithms used

in the mining of cryptocurrencies.

Upon information and belief, Defendants Squirrels and Aflmine entered into a joint
venture regarding the fulfillment of orders for hardware involved in the processing and

mining of cryptocurrencies, such as the ‘BCU1525’ product.

On or about June 7, 2018, Mr. Forsell placed an order through Allmine for a unit of the
‘BCU1525° product, identified by Order # 1042. Mr. Forsell paid a total of $14,530.64
for the product. A true and accurate copy of the Order Summary for Order # 1042 is

attached as Exhibit A.

On or about June 7, 2018, Mr. Forsel! placed an additional order through Allmine for the
‘BCU1525’ product, identified by Order # 1076. Mr, Forsell paid a total of $14,530.64
for the product. A true and accurate copy of the Order Summary for Order # 1076 is

attached as Exhibit B.

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12. On or about June 7, 2018, Mr. Forsell placed an additional order through Allmine for the
‘BCU1525’ product, identified by Order # 1121. Mr. Forsell paid a total of $14,530.64
for the product. A true and accurate copy of the Order Summary for Order # 1121 is

attached as Exhibit C.}

13. On or about June 8, 2018, Mr. Forsell placed an additional order through Allmine for the
‘BCU1525’ product, identified by Order # 1174. Mr, Forsell paid a total of $14,530.64
for the product. A true and accurate copy of the Order Summary for Order # 1174 is

attached as Exhibit D.

14. On or about June 9, 2018, Mr. Forsell placed an additional order through Allmine for ten
(10) units of the ‘BCU1525’ product, identified by Order # 1247. Mr. Forsell paid a total
of $36,224.06 for the product. A true and accurate copy of the Order Summary for Order

# 1247 is attached as Exhibit E. ?

15. On or about June 13, 2018, Mr. Forsell placed an additional order through Allmine for
ten (10) more units of the ‘BCU1525’ product, identified by Order # 1395. Mr. Forsell
paid a total of $36,224.06 for the product. A true and accurate copy of the Order

Summary for Order # 1395 is attached as Exhibit F. 5

! Mr, Forsell paid for this order through ‘Coinbase commerce’ in the form of cryptocurrency, specifically Ethereum.
2 Mr. Forsell also paid for this order through ‘Coinbase commerce’ in the form of cryptocurrency, specifically

Ethereum.

3 Mr. Forsell also paid for this order through ‘Coinbase commerce’ in the form of cryptocurrency, specifically
Ethereum.

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On or about June 13, 2018, Mr. Forseli placed an additional order through Allmine for
fifty-two (52) more units of the ‘BCU1525’ product, identified by Order # 1405. Mr.
Forsell paid a total of $187,973.09 for the product. A true and accurate copy of the Order

Summary for Order # 1405 is attached as Exhibit G.

On or about June 13, 2018, Mr. Forsell placed an additional order through Allmine for
thirty (30) more units of the ‘BCU1525’ product, identified by Order # 1406. Mr. Forsell
paid a total of $108,410.80 for the product. A true and accurate copy of the Order

Summary for Order # 1406 is attached as Exhibit H.

On or about June 18, 2018, Mr. Forsell placed an additional order through Allmine for
nineteen (19) more units of the ‘BCU1525’ product, identified by Order # 1505. Mr.
Forsell paid a total of $63,949.58 for the product. A true and accurate copy of the Order

Summary for Order # 1505 is attached as Exhibit I.

On or about June 16, 2018, Mr. Forsell via email placed an order to Squirrels for the
‘BCU1525° product. Squirrels issued invoice no. 00002860 for $67,000. On or about
June 18, 2018, Mr. Forsell wired $67,000 to complete the transaction. A true and accurate

copy of the Invoice and Wire Instruction are attached as Exhibit J.

On or about June 16, 2018, Mr. Forsell via email placed an order to Squirrels for

additional units of the ‘BCU1525’ product. Squirrels issued invoice no. 00002865 for

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$63,650. On or about June 18, 2018 Mr. Forsell wired $63,650 to complete the

transaction. A true and accurate copy of the Invoice and Wire Instruction are attached as

Exhibit K.

On or about June 27, 2018, Mr. Forsell via email placed an order to Squirrels for
additional units of the ‘BCU1525’ product. Squirrels issued invoice no. 00002981 for
$167,500. On or about June 28, 2018, Mr. Forsell wired $167,500 to complete the

transaction. A true and accurate copy of the Invoice and Telegram are attached as

Exhibit L.

On or about August, 6, 2018, Squirrels announced in a press release that the shipment of
product units could be delayed until at least end of 2018 due to constraints in the supply

of semiconductor components necessary to build the product units.

In light of this untimely delay, and with no indication of exactly how long the delay will
be, on August 14, 2018 Mr. Forsell notified Squirrels, through Allmine, in writing of his
request to cancel his orders and refund his money. Mr. Forsell’s request to cancel the
orders and refund his money was accepted in writing on August 17, 2018. A true and
accurate copy of the email chain cancelling the transactions and acknowledgment and

acceptance of the same is attached as Exhibit M.

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24. Despite receiving assurances that his refunds were forthcoming, Mr. Forsell did not

receive refunds of the funds paid, nor did he receive units of the ‘BCU1525’ product that

he ordered and subsequently cancelled.

25, On or about April 9, 2019, Mr. Forsell and Squirrels ultimately agreed on the amount due
and owing for the unfulfilled orders, which totals $774,373.60. A true and accurate copy

of the email chain and spreadsheet evidencing the agreed upon amount due and owing is

attached as Exhibit N.

26. In a subsequent legal proceeding*, Squirrels’ CEO admitted to the amount due and owing
to Mr. Forsell for the unfulfilled orders and acknowledged that other customers who
made similar orders during the timeframe Mr. Forsell made his orders subject to this

action were in fact given refunds.

27. As of the date of this filing, Mr. Forsell! has still not been refunded the outstanding
amount due to him, despite Squirrels’ agreement as to the due and owing amount. See

Apr. 9, 2019 email.

COUNT ONE
(Breach of Contract)

28. Paragraphs 1-27 of the Complaint are hereby realleged as if fully rewritten herein.

4 In Re. Squirrels Research Labs, LLC, United States Bankruptcy Court, Northern District of Ohio Case No. 21-
61491. Defendant Squirrels, LLC, a separate and distinct entity from Squirrels Research Labs, LLC, is not a party to

this bankruptcy proceeding.

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In the United States, the CISG is a ratified treaty with the preemptive force of federal
law. See U.S. Const., Art. VI (Supremacy Clause); see also BP Oil Int'l, Lid. v. Empresa
Estatal Petroleos de Ecuador, 332 F.3d 333, 336 (5" Cir. 2003) (the CISG creates a

private right of action in federal court).

The CISG is a self-executing agreement between the United States and other signatories,
including Singapore, that applies “to contracts for the sale of goods between parties
whose places of business are in different States... when the States are Contracting States.”

CISG art.1, Apr. 11, 1980, 1489 U.N.TS. 3.

As incorporated federal law, the CISG governs disputes so long as the parties have not
elected to exclude its application. CISG art. 6. See It's Intoxicating, Inc. v. Maritim

Hotelgeselischft, mbH, CIVIL ACTION NO. 3:11-2379 (M.D. Pa. Aug. 27, 2012).

At no point did the contracting parties in this matter affirmatively state that the CISG

does not apply to this contract, so international law applies.

Pursuant to Article 11 of the CISG, a contract of sale “need not be concluded in or
evidenced by writing and is not subject to any other requirement as to form. It may be
proved by any means, including witnesses.” CISG art. 11. This would include

telecommunications or email correspondence. CISG art. 13.

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Under CISG, a plaintiff must plead the traditional four elements of a breach of contract
claim: formation, performance, breach and damages. See Magellan Int’l Corp. v.

Salzgitter Handel GmbH, 76 F.2d 919, 924 (N.D. Ill. 1999).

The Contracting Parties effectively entered into a contract for the sale of goods when
Plaintiff initially placed an online order for the hardware, and for every subsequent

transaction since June 7, 2018.

Mr. Forsell performed his obligation of supplying monetary funds in exchange for the

hardware he ordered,

Upon Mr. Forsell’s cancellation and request for a refund of his monies, Squirrels
acknowledged and agreed to refund Mr. Forsell an amount totaling $774,373.60 in full,

yet as of the date of this filing has fatled to do so.

Squirrels has repeatedly and materially breached the contract entered into between
Squirrels and Mr. Forseil by failing to refund the full outstanding balance owed to Mr.

Forsell as agreed by the parties after several repeated attempts and communications

spanning three (3) years.

As a direct, proximate and foreseeable result of the repeated and material beaches of

contract as described above, Mr. Forsell has been damaged in an amount not presently

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subject to precise calculation, but which is believed to be approximately $774,373.60 as

agreed by the parties.

COUNT TWO
(Unjust Enrichment)

40. Paragraphs 1-38 of the Complaint are hereby realleged as if fully rewritten herein,

41. Pursuant to Article 84 of the CISG, “If the seller is bound to refund the price, he must

also pay interest on it, from the date on which the price was paid.”

42. Mr. Forsell has made payments to Squirrels of approximately $774,373.60 without

receiving any equivalent value in return.

43. Squirrels received and has retained Mr. Forsell’s payments without providing the

equivalent value in return and thus possesses knowledge of the benefit.

44, Mr. Forsell has suffered and will continue to suffer damages as a result of Squirrels’

failure to provide a refund of the monies owed to Mr. Forsell.

WHEREFORE, Plaintiff Forsell respectfully requests that this Court enter judgment jointly
and severally against the Defendants as follows:
a. Declare that Defendants’ actions and omissions complained of herein were in

violation of the United Nations Convention on Contracts for the International Sale of

Goods and regulations thereunder;

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b, Award Plaintiff compensatory damages against Defendants jointly and severally in an
amount not presently subject to precise calculation, but believed to be approximately
$774,373.60, plus statutory post-judgment interest, subject to proof in an exact

amount at trial;
c. Award Plaintiff punitive damages;
d. Award Plaintiff his attorneys’ fees, litigation expenses, and costs; and

e. Grant such further relief as this Court deems equitable and just.

Date: August | 5 , 2022

Respectfully submitted,

/s/- Thomas L. Sooy

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Attorneys for Plaintiff

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